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AO 94 (Rev. 01/09) Commitment to Another District



                                      UNITED STATES DISTRICT COURT
                                                               for the
                                                       Middle District of Florida

UNITED STATES OF AMERICA

VS.                                                                      CASE NO: 6:23-mj-1120-EJK

BRANDON CLINT RUSSELL
                                                                                Charging District’s
                        Defendant                                               Case No. 23-mj-00401-MJM



                                             COMMITMENT TO ANOTHER DISTRICT

         The defendant has been ordered to appear in the         District of Maryland.

         The defendant:             will retain an attorney.


         The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order, to
the charging district and deliver the defendant to the United States marshal for that district, or to another officer authorized
to receive the defendant. The marshal or officer in the charging district should immediately notify the United States attorney
and the clerk of court for that district of the defendant’s arrival so that further proceedings may be promptly scheduled. The
clerk of this district must promptly transmit the papers and any bail to the charging district.




Date:        February 6, 2023
